     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 1 of 19




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


 LEON GREATHOUSE,

                               Plaintiff,

                -against-
                                                                 Case No. 9:21-cv-1223
 SGT. K. MEDDAUGH; RN MARY
 THOMPSON; OFFICER DRAKE; SGT.
 PHILLIPS,

                               Defendants.




        PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                      THE FIRST AMENDED COMPLAINT




                                    14 Wall Street, Suite 1603
                                      New York, NY 10005




On the Brief:

       Stephanie Panousieris
       Rob Rickner
        Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 2 of 19




                                                   TABLE OF CONTENTS

TABLE OF CONTENTS ............................................................................................................... I

TABLE OF AUTHORITIES ........................................................................................................ II

PRELIMINARY STATEMENT ................................................................................................... 1

THE FACTS ALLEGED ............................................................................................................... 1

ARGUMENT ................................................................................................................................... 2

  I.         LEGAL STANDARD ........................................................................................................... 2

  II.        PLAINTIFF’S CLAIMS ARE NOT BARRED BY EDWARDS BECAUSE HE IS NO
             LONGER “IN CUSTODY” AND IS THUS NOT REQUIRED TO SHOW FAVORABLE
             TERMINATION OF THE UNDERLYING DISCIPLINARY ACTION ............................. 3

        A.      Edwards v. Balisok Only Applies To Persons Who Remain Subject To The Challenged
                Confinement Or Sanctions ............................................................................................... 3

        B.      Where Neither Habeas Nor Administrative Review Of The Disciplinary Decision Are
                Functionally Available, The Second Circuit Has Held That § 1983 Must Be ................. 5

  III. PLAINTIFF HAS PLAUSIBLY PLED HIS DUE PROCESS CLAIMS .............................. 7

        A.      Plaintiff’s Procedural Due Process Claim Is Well-Pled ................................................... 7

                1.     Plaintiff has stated a sufficiently serious constitutional depravation. ....................... 7

                2.     Defendants violated the minimal due process standards required byWolff. ............. 8

                3.     Defendants lacked any modicum of “reliable evidence” of Plaintiff’s guilt. ......... 10

        B.      Plaintiff’s Substantive Due Process Claim Is Well-Pled ................................................ 12

  IV. PLAINTIFF HAS STATED A VIABLE EIGHTH AMENDMENT CLAIM .................... 13

CONCLUSION ............................................................................................................................. 14




                                                                      i
       Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 3 of 19




                                             TABLE OF AUTHORITIES

     CASES
Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................................... 2, 3
Baczkowski v. N.Y. State Dep’t of Corr., 04 cv 619 (W.D.N.Y. June 24, 2004) .............................. 5
Bodie v. Morgenthau, 342 F. Supp. 2d 193 (S.D.N.Y. 2004) ........................................................... 5
Chavez v. Gutwein, 20 cv 342 (S.D.N.Y. Sept. 17, 2021) ................................................................ 9
Davis v. Barrett, 576 F.3d 129 (2d Cir. 2009) .................................................................................. 8
DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104 (2d Cir.2010) ........................................................ 2
Drayton v. McCall, 584 F.2d 1208 (2d Cir. 1978) ............................................................... 8, 10, 13
Edwards v. Balisok, 520 U.S. 641 (1997) ................................................................................. 1, 3, 4
Elder v. McCarthy, 967 F.3d 113 (2d Cir. 2020)................................................................ 11, 12, 13
Foucha v. Louisiana, 504 U.S. 71 (1992) ....................................................................................... 12
Giano v. Selsky, 238 F.3d 223 (2d Cir. 2001) ................................................................................... 7
Gonzalez v. Hasty, 802 F.3d 212 (2d Cir. 2015)............................................................................. 14
Greathouse v. Meddaugh, 21 cv 1223 (N.D.N.Y. May 6, 2022) ...................................................... 3
Hardy v. Fischer, 701 F.Supp.2d 614 (S.D.N.Y. 2010) ................................................................... 6
Heck v. Humphrey, 512 U.S. 477 (1994) ...................................................................................... 3, 6
Hogan v. Fischer, 738 F.3d 509, 514 (2d Cir. 2013) ........................................................................ 2
Huang v. Johnson, 251 F.3d 65 (2d Cir. 2001)................................................................................. 5
Jeanty v. City of Utica, 16 cv 00966 (N.D.N.Y. Aug. 18, 2017) ...................................................... 5
Jenkins v. Haubert, 179 F.3d 19 (2d Cir. 1999) ........................................................................... 4, 7
John v. Lewis, 15 cv 5346 (E.D.N.Y. Mar. 31, 2017) ...................................................................... 6
Leather v. Eyck, 180 F.3d 420 (2d Cir. 1999)................................................................................... 5
Liao v. Malik, 13 cv 1497 (N.D.N.Y. Feb. 26, 2016) ....................................................................... 7
Lowrance v. Achtyl, 20 F.3d 529 (2d Cir. 1994)............................................................................. 12
Luna v. Pico, 356 F.3d 481 (2d Cir. 2004) ..................................................................................... 11
Molano v. Bezio, 42 F. Supp. 3d 465 (W.D.N.Y. 2012) ................................................................. 11
Morrison v. Lefevre, 592 F. Supp. 1052 (S.D.N.Y. 1984) ........................................................ 12, 13
Ortiz v. McBride, 380 F.3d 649 (2d Cir. 2004)................................................................................. 8
Peralta v. Vasquez, 467 F.3d 98 (2d Cir. 2006) ............................................................................... 4


                                                                 ii
        Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 4 of 19




Preiser v. Rodriguez, 411 U.S. 475 (1973) ................................................................................... 3, 4
Rhodes v. Chapman, 452 U.S. 337 (1981) ...................................................................................... 13
Sanders v. Williams, 14 cv 7210 (S.D.N.Y. Nov. 10, 2015), R&R adopted, 14 cv 7210 (S.D.N.Y.
   Dec. 4, 2015) ................................................................................................................................. 6
Sandin v. Conner, 515 U.S. 472 (1995) ............................................................................................ 8
Schwartz v. Dennison, 339 F. App’x 28 (2d Cir. 2009).................................................................... 7
Scott v. City of White Plains, 10 cv 1887 (S.D.N.Y. Apr. 10, 2012) ................................................ 6
Sira v. Morton, 380 F.3d 57 (2d Cir. 2004) ................................................................................ 9, 10
Smith v. Coughlin, 748 F.2d 783 (2d Cir. 1984) ............................................................................. 13
Spencer v. Kemna, 523 U.S. 1 (1998) ........................................................................................... 5, 7
Steele-Warrick v. Microgenics Corp., 19 cv 6558 (E.D.N.Y. Mar. 22, 2021) ................................. 9
Superintendent, Massachusetts Corr. Inst., Walpole v. Hill, 472 U.S. 445 (1985) .......................... 9
Tavares v. Amato, 954 F. Supp. 2d 79 (N.D.N.Y. 2013) ................................................................ 12
Taylor v. Rodriguez, 238 F.3d 188 (2d Cir.2001)........................................................................... 11
Teichmann v. New York, 769 F.3d 821 (2d Cir. 2014) ..................................................................... 7
Vance v. N.Y. State Dep’t of Corr. & Cmty. Supervision, 160 A.D.3d 1322 (3d Dep’t 2018) ......... 6
Webster v. Himmelbach, 271 F. Supp. 3d 458 (W.D.N.Y. 2017) ..................................................... 4
Whaley v. Goord, 47 A.D.3d 1132 (3d Dep’t 2008) ......................................................................... 6
Whitley v. Miller, 57 F. Supp. 3d 152 (N.D.N.Y. 2014) ................................................................. 11
Wolff v. McDonnell, 418 U.S. 539 (1974) .......................................................................... 4, 8, 9, 10
Zavaro v. Coughlin, 970 F.2d 1148 (2d Cir. 1992) .................................................................... 9, 11

     STATUTES
42 U.S.C. § 1983 ...................................................................................................................... passim

     RULES
Fed. R. Civ. P. 12(b)(6)..................................................................................................................... 2




                                                                        iii
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 5 of 19




                                PRELIMINARY STATEMENT

       Plaintiff’s First Amended Complaint (“FAC”) plausibly alleges that his due process rights

were violated, leading to restrictive and unconstitutional disciplinary sanctions, delaying his

release from incarceration. Following amendment of the complaint, Defendants move to dismiss

for a second time, now arguing that Edwards v. Balisok, 520 U.S. 641 (1997), bars the instant relief

because Plaintiff’s sanctions were not previously overturned by issuance of a writ of habeas corpus

or upon judicial review of the agency’s decision. This assertion is wrong. No such bar exists where,

as here, the plaintiff could not have challenged these sanctions because he was released from

custody before he had any opportunity to file the challenge. Consequently, Plaintiff can therefore

recover for the depravations of his procedural due process rights, as well as for violations of his

substantive Fourteenth and Eighth Amendment rights arising from the sanctions imposed upon

him absent adequate procedural protections.

                                    THE FACTS ALLEGED

       At approximately 4:20 a.m. on November 29, 2020, Plaintiff Leon Greathouse (“Plaintiff”)

experienced a medical emergency in his dorm at Mohawk Correctional Facility. FAC¶14. 1 The

responding staff, including Defendant Meddaugh, made a conclusory assertion that Plaintiff was

under the influence of an unknown intoxicant, which he then relayed to the medical unit FAC¶¶15–

17. Defendant Thompson, a nurse in the facility, reiterated this unfounded assertion after a mere

visual examination and no confirmatory drug testing, despite a state law mandating such testing,

and the temporarily suspension of all disciplinary action related to intoxication while the State

addressed a recurring issue of false positives. FAC¶¶18–24. Plaintiff was violated anyway, and,



1
 Plaintiff’s First Amended Complaint (Dkt. 17) is cited as “FAC¶__.” Defendants’ Memorandum
of Law in Support of their Second Motion to Dismiss (Dkt. 18-1) is cited as “MTD at ECF ___.”


                                                 1
      Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 6 of 19




 during his disciplinary hearing, was prevented from questioning his accuser and calling the

 witnesses of his choice. FAC¶25–37. Defendant Drake, who conducted the hearing, improperly

 found Plaintiff guilty of the violation based solely on Meddaugh and Thompson’s conclusory

 assertions of Plaintiff’s appearance during the medical emergency. FAC¶38.

        Drake sentenced Plaintiff to 30 days in the Special Housing Unit (“SHU”) under

 “keeplock” conditions, and Defendant Phillips rescinded 60 days of Plaintiff’s good time credits,

 which supported his prior grant of parole scheduled for January 4, 2021. FAC¶¶39–41. Under

 DOCCS internal policies, Tier III disciplinary charges require that a grant of parole be revisited

 upon a guilty finding. FAC¶¶41, 45. The parole board, however, did not ultimately revoke

 Plaintiff’s grant of parole. FAC¶46. Instead, the wrongful disciplinary action was the driving force

 behind Plaintiff’s delayed release. FAC¶¶50–53. Despite his timely diligence, Plaintiff ultimately

 served the entire SHU sentence before exhausting his administrative appeals, rendering any

 subsequent state action moot as a matter of law. FAC ¶¶46–53. Plaintiff was ultimately released

 to parole on January 24, 2021. FAC¶53.

                                            ARGUMENT

I.      LEGAL STANDARD

        To survive a Rule 12(b)(6) motion, a complaint need only “contain sufficient factual

 matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009). “A claim is plausible ‘when the plaintiff pleads factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.’” Hogan v. Fischer, 738 F.3d 509, 514 (2d Cir. 2013) (quoting Ashcroft, 556 U.S. at 678).

 “[T]he duty of a court is merely to assess the legal feasibility of the complaint, not to assay the

 weight of the evidence which might be offered in support thereof.” DiFolco v. MSNBC Cable

 L.L.C., 622 F.3d 104, 113 (2d Cir.2010) (quotation marks omitted). Thus, a court should “should


                                                   2
      Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 7 of 19




 assume the[] veracity [of the allegations] and then determine whether they plausibly give rise to

 an entitlement to relief.” Ashcroft, 556 U.S. at 679.

II.     PLAINTIFF’S CLAIMS ARE NOT BARRED BY EDWARDS BECAUSE HE IS NO
        LONGER “IN CUSTODY” AND IS THUS NOT REQUIRED TO SHOW FAVORABLE
        TERMINATION OF THE UNDERLYING DISCIPLINARY ACTION

        A. Edwards v. Balisok Only Applies To Persons Who Remain Subject To The
           Challenged Confinement Or Sanctions

        As this Court noted in its Decision & Order on Defendants’ First Motion to Dismiss (Dkt.

 15), the Supreme Court’s decision in Edwards, 520 U.S. 641, “precludes an inmate from asserting

 a § 1983 claim related to alleged deficiencies in a prison disciplinary hearing unless the sanction

 has been overturned.” Greathouse v. Meddaugh, 21 cv 1223, at *3 (N.D.N.Y. May 6, 2022)

 (emphasis added). Edwards follows the Supreme Court’s decisions in Heck v. Humphrey, 512 U.S.

 477 (1994), and Preiser v. Rodriguez, 411 U.S. 475 (1973), which announced similar rules

 concerning civil challenges to criminal convictions or prison disciplinary sanctions if those suits

 “would necessarily imply the invalidity of [the] conviction or sentence” absent some indication

 that the decision was legally invalidated. Heck, 512 U.S. at 487. The Supreme Court’s primary

 concern in each of these cases was the interplay between the broad remedial purpose of 42 U.S.C.

 § 1983, habeas corpus, and the inherent police power of a state to control the prosecution and

 sentencing of persons within its jurisdiction. Thus, when analyzing their applicability to Plaintiff’s

 claims, this Court should consider if the instant action impermissibly circumvents a state process

 to which Plaintiff should have availed himself prior to brining a federal damages action.

        No such issues of comity are implicated here, as Plaintiff’s custodial status distinguishes

 his case from those upon which Defendants rely in their briefing. In Preiser, for example, the Court

 found when “a state prisoner is challenging the very fact or duration of his physical imprisonment,

 and the relief he seeks is a determination that he is entitled to immediate release or a speedier



                                                   3
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 8 of 19




release from that imprisonment, his sole federal remedy is a writ of habeas corpus,” 411 U.S. at

500 (emphasis added). But Plaintiff is not a state prisoner, nor is he seeking “immediate” or

“speedier” release or the reinstatement of his good time credits. See Wolff v. McDonnell, 418 U.S.

539, 554 (1974) (citing Preiser, 411 U.S. at 499 n.14) (Presier “specifically contemplated” that a

“§ 1983 could go forward” because habeas corpus—while the proper avenue for reinstatement of

good time credits—“is not an appropriate or available remedy for damages claims.”). He instead

seeks damages for violations of his due process rights while incarcerated, which caused an

unconstitutional depravation of his liberty at is no longer reviewable through administrative

channels or a writ of habeas corpus. See FAC¶¶47–67.

        In fact, Defendants have failed to identify any cases in which Edwards barred a formerly

incarcerated person from challenging a prison disciplinary action after his release where, as here,

other avenues of relief were unavailable to him. See Section I.B, supra. Nor can the undersigned

identify any cases resembling Plaintiff’s in this jurisdiction. His claims do not fit neatly into one

of the three fact patterns underlying the cases upon which Defendants rely, including: (1) a person

seeking to challenge an outstanding criminal conviction without seeking favorable termination,

see e.g. Heck, 512 U.S. 477; (2) a currently incarcerated person challenging prison disciplinary

sanctions in a federal civil action without first obtaining a favorable termination, see, e.g., Preiser,

411 U.S. 475; Peralta v. Vasquez, 467 F.3d 98 (2d Cir. 2006); Jenkins v. Haubert, 179 F.3d 19 (2d

Cir. 1999); or (3) a current parolee seeking to challenge the conditions of the parole to which he

remains subject, see e.g. Webster v. Himmelbach, 271 F. Supp. 3d 458 (W.D.N.Y. 2017). A careful,

contextual reading of the relevant caselaw therefore indicates that neither the Supreme Court nor

the Second Circuit have read Edwards to bar a litigant from challenging the constitutionality of

his prison disciplinary hearing or those sanctions to which he is no longer subject, as long as he




                                                   4
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 9 of 19




did not sleep on his duty to pursue a favorable termination prior to his release (which, as discussed

below, Plaintiff did not).

       B. Where Neither Habeas Nor Administrative Review Of The Disciplinary Decision
          Are Functionally Available, The Second Circuit Has Held That § 1983 Must Be

       Plaintiff’s underlying disciplinary action is no longer reviewable because habeas corpus,

whether state or federal, is a narrow remedy—only those seeking reprieve from their current

confinement or restrictions can seek the writ. See Leather v. Eyck, 180 F.3d 420, 424 (2d Cir.

1999) (plaintiff not currently in the custody “has no remedy in habeas corpus”). And while parolees

are “in custody” for purposes of challenging their parole conditions, this does not apply to the

conditions of their prior confinement. See, e.g., Bodie v. Morgenthau, 342 F. Supp. 2d 193, 198

(S.D.N.Y. 2004) (habeas is the proper remedy for a litigant who is denied parole because such a

challenge “implicates the validity of [his] continued incarceration.”) (emphasis added); see also

Baczkowski v. N.Y. State Dep’t of Corr., 04 cv 619, at *2 (W.D.N.Y. June 24, 2004) (federal

damages action improper mechanism to challenge to parole revocation because it would

circumvent the exhaustion prerequisites of habeas).

        Similarly, incarcerated persons seeking release from disciplinary or other enhanced forms

of segregation can only avail themselves to the writ while they remain subject to those enhanced

restrictions—the remedy becomes moot after the sanction is complete. See Spencer v. Kemna, 523

U.S. 1, 21 (1998) (Ginsberg, J. concurring) (crediting Justice Souter’s opinion that those with no

recourse in habeas because their sentences are complete “fit within § 1983’s ‘broad reach.’”);

Huang v. Johnson, 251 F.3d 65 , 74–75 (2d Cir. 2001) (no Heck bar where habeas unavailable

because of the plaintiff’s release from custody); Jeanty v. City of Utica, 16 cv 00966, at *4

(N.D.N.Y. Aug. 18, 2017) (“If the plaintiff is no longer in custody and habeas is consequently

unavailable, the Heck doctrine no longer applies”); John v. Lewis, 15 cv 5346, at *7 (E.D.N.Y.



                                                 5
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 10 of 19




Mar. 31, 2017) (“It is Second Circuit law that a plaintiff not in State custody, who thus does not

have a habeas corpus remedy available, may bring a 1983 action, even if a successful claim would

‘necessarily imply the invalidity of his conviction.’”) (citations omitted); Hardy v. Fischer, 701

F.Supp.2d 614, 620 n.6 (S.D.N.Y. 2010) (“Heck’s favorable termination requirement does not bar

plaintiffs who are not in custody . . . from seeking relief pursuant to section 1983.”).

       The practical effect of the narrow nature of the habeas remedy is that it was only available

to Plaintiff during his 30-day SHU detention, which constitutes the functional unavailability of the

writ. See Sanders v. Williams, 14 cv 7210, at *5 n.2 (S.D.N.Y. Nov. 10, 2015), R&R adopted, 14

cv 7210 (S.D.N.Y. Dec. 4, 2015) (no bar to suit where, as here, the “plaintiff did not have the

practical ability to pursue habeas relief for his thirty-day sentence”); Scott v. City of White Plains,

10 cv 1887, at *3 (S.D.N.Y. Apr. 10, 2012) (finding an exception to Heck if the length of the

unconstitutional detention made filing a habeas petition impracticable).

       Plaintiff was also unable to exhaust his administrative remedies because he was released

before he could even finish the appeal process, and any administrative challenges are dismissed as

moot automatically. FAC¶¶47–53. This effectively bars any judicial review of the agency’s

disciplinary decision because he did not first exhaust his state law administrative remedies. see

e.g. Vance v. N.Y. State Dep’t of Corr. & Cmty. Supervision, 160 A.D.3d 1322, (3d Dep’t 2018)

(“article 78 proceeding is precluded by [a] failure to exhaust [] administrative remedies”); Whaley

v. Goord, 47 A.D.3d 1132, 1133 (3d Dep’t 2008) (incarcerated petitioner’s challenge to

disciplinary action and loss of good time moot upon release from confinement).

       Each of these cases indicate that where habeas or administrative remedies are unavailable

to a former or currently incarcerated person, § 1983 remains a “diligent plaintiff’s only opportunity

to challenge his conviction in a federal forum.” Teichmann v. New York, 769 F.3d 821, 828 (2d




                                                  6
       Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 11 of 19




 Cir. 2014) (Livingston, J. concurring). Thus, Plaintiff, “a former prisoner, no longer ‘in custody,’

 may bring a § 1983 action establishing the unconstitutionality of . . . [his] confinement without

 being bound to satisfy a favorable-termination requirement that it would be impossible as a matter

 of law for him to satisfy.” Spencer, 523 U.S. at 21 (Souter, J., concurring).

         In sum, as the Second Circuit has long held, if “federal habeas corpus is not available to

 address constitutional wrongs, § 1983 must be.” Jenkins, 179 F.3d at 26.

III.     PLAINTIFF HAS PLAUSIBLY PLED HIS DUE PROCESS CLAIMS

         A. Plaintiff’s Procedural Due Process Claim Is Well-Pled

               1. Plaintiff has stated a sufficiently serious constitutional depravation.

         To establish a procedural due process claim, a plaintiff must plausibly plead (1) a protected

 interest; and (2) a depravation of that interest as a result of insufficient process. Giano v. Selsky,

 238 F.3d 223, 225 (2d Cir. 2001). Plaintiff has asserted multiple liberty interests affected by the

 wrongful guilty charge, including: (1) a liberty interest in remaining free from disciplinary

 confinement; (2) a liberty interest in earned good-time credits; and (3) a liberty interest in his

 scheduled release to parole. See generally Liao v. Malik, 13 cv 1497, at *4 (N.D.N.Y. Feb. 26,

 2016) (“The prevailing view in this Circuit is that, by its regulatory scheme, the State of New York

 has created a liberty interest in remaining free from disciplinary confinement.”) (collecting cases);

 Schwartz, 339 F. App’x at 30 (“A presumption that parole will be granted amounts to a legitimate

 expectation of release subject to due process protections.”). Plaintiff has also alleged that each of

 these interests were infringed upon by Defendants’ knowing failure to provide adequate due

 process to Plaintiff. FAC¶¶25–39.

         While it is true that a disciplinary action is actionable only where the imposition of those

 sanctions “‘imposes atypical and significant hardship on the inmate in relation to the ordinary

 incidents of prison life,’” there is nothing in the caselaw cited by Defendants that indicates Plaintiff


                                                    7
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 12 of 19




cannot prove atypicality based on his actual innocence of the purported infraction and a denial of

any meaningful process to prove that innocence. Ortiz v. McBride, 380 F.3d 649, 654 (2d Cir.

2004) (quoting Sandin v. Conner, 515 U.S. 472, 484 (1995) (finding a plausible due process

violation sufficient to survive dismissal where the plaintiff spent 90-days in restricted confinement

based only on a confidential informant’s allegations). While Plaintiff does plead that the physical

conditions of his disciplinary confinement were atypical, see FAC¶¶57–61, “the more substantial

interest of the prisoner in total physical freedom as compared to mere periodic liberty from

confinement suggests that his interest in proving that he is innocent of the charges is greater” than

those who are merely subject to discipline that does not implicate their release. Drayton v. McCall,

584 F.2d 1208, 1220 (2d Cir. 1978) (due process implicated where an incarcerated plaintiff was

prevented from presenting evidence of his innocence concerning an allegation that he used

amphetamines) (citations omitted).

       Given that Defendants have not met their burden of demonstrating that the complaint lacks

any facts that may give rise to a plausible inference of this kind of atypicality—which the Supreme

Court has long-considered of greater import than mere conditions of one’s disciplinary

confinement—further factual development is necessary before disposing of Plaintiff’s claims. See

id.; Davis v. Barrett, 576 F.3d 129, 134 (2d Cir. 2009) (“Only when the conditions are uncontested

may a district court resolve the issue of atypicality of confinement as a matter of law.”).

              2. Defendants violated the minimal due process standards required byWolff.

       Incarcerated individuals are entitled to be free from arbitrary actions of prison officials.

See Wolff, 418 U.S. at 558. “In a variety of contexts, the [Supreme] Court has recognized that a

governmental decision resulting in the loss of an important liberty interest violates due process if

the decision is not supported by any evidence.” Superintendent, Massachusetts Corr. Inst.,




                                                 8
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 13 of 19




Walpole v. Hill, 472 U.S. 445, 455 (1985). “‘Due process,’ the Second Circuit has observed, ‘does

not permit a hearing officer simply to ratify the bald conclusions of others; it requires some inquiry

to determine whether the totality of facts and circumstances reasonably supports the proffered

conclusion.’”) Chavez v. Gutwein, 20 cv 342, at *12 (S.D.N.Y. Sept. 17, 2021) (quoting Sira v.

Morton, 380 F.3d 57, 80 (2d Cir. 2004)).

        To survive a motion to dismiss, a procedural due process claim need only allege facts that

give rise to the plausible inference that either (1) the procedural protections set forth in Wolff were

not satisfied; or (2) the prison official acted arbitrarily in finding the incarcerated individual guilty

of the violation. See Zavaro v. Coughlin, 970 F.2d 1148, 1152 (2d Cir. 1992). Thus, if a prison

disciplinary hearing is “so devoid of evidence that the findings of the disciplinary board were

without support or otherwise arbitrary,” due process was not afforded. Hill, 472 U.S. at 457. The

Wolff protections include: (1) advanced written notice of the charges; (2) a written statement by

the factfinder identifying the basis of the decision; and (3) the right to call witnesses and present

documentary evidence. 418 U.S. 539.

        Plaintiff was denied the right to call the witnesses of his choice, see FAC¶¶35–37, and

denied the right to present documentary evidence, see FAC¶57, which may have provided

exculpatory evidence concerning the origins of the underlying medical event. Moreover, uranalysis

testing was mandatory under state law, and denying Plaintiff access to that testing also denied him

the opportunity to present a negative test result in his defense. FAC¶¶21–22, 29, 33, 43, 57; see

also Steele-Warrick v. Microgenics Corp., 19 cv 6558, at *4 (E.D.N.Y. Mar. 22, 2021) (an

incarcerated person has the “right to submit evidence at [] a disciplinary hearing, including

evidence explaining the positive drug screen and challenging the drug screen procedures.”). The

Individual Defendants were well aware of these due process protections mandated by the state,




                                                   9
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 14 of 19




and knew of the state-wide suspension of any disciplinary action related to the use of intoxicants

at the time of this incident, but proceeded to discipline Plaintiff nonetheless—further evidencing

that they acted with deliberate indifference to Plaintiff’s rights. See FAC¶¶22–23, 57; Wolff, 418

U.S. 539; Sira, 380 F.3d at 75 (official’s decision to withhold evidence at disciplinary hearing is

subject to judicial scrutiny).

        Furthermore, “because ultimate freedom itself is directly implicated” by Defendants’

failings, “Wolff is not the end of our analysis.” Drayton, 584 F.2d at 1219. A parole grantee,

“although not yet free . . . has the taste of freedom in his mouth, the smell of freedom in the air,

the touch of freedom within his grasp;” thus, “fatally deficient” process causing that release to be

delayed implicates due process in it of itself. Id. at 1219, 1221. Here, the hearing officer’s

determination of Plaintiff’s guilt was based entirely on the conclusory, non-expert opinion of a

single nurse who did not witness Plaintiff taking or possessing any intoxicants at any time, 2 and

did not give Plaintiff a full medical evaluation to discover the true source of his medical

emergency. FAC¶¶19–39. When Plaintiff attempted to inquire into the basis for Thompson’s

absurd conclusion during the disciplinary hearing, Drake interrupted, reframed the questions, and

did not allow Plaintiff to elicit that information. FAC¶¶32–33. These facts are sufficient to state a

violation of Plaintiff’s procedural due process rights. See Sira, 380 F.3d at 74 (“An inmate’s due

process right to know the evidence upon which a discipline ruling is based is well established.”).



               3. Defendants lacked any modicum of “reliable evidence” of Plaintiff’s guilt.




2
  Nor did any officer see Plaintiff take or possess any intoxicant at any time, and no staff testified
to the contrary. Plaintiff repeatedly told the Defendants that he had no history of substance abuse
and no institutional discipline indicating otherwise. FAC¶30.



                                                 10
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 15 of 19




       Defendants wrongly claim that the “some evidence” standard is met here simply because

Thompson testified that she believed Plaintiff was intoxicated. 3 MTD at ECF 9. But it is well-

established that the Second Circuit has not construed the “some evidence” standard literally; the

relevant inquiry is “whether there was ‘reliable evidence’ of the inmate’s guilt.” Luna v. Pico, 356

F.3d 481 (2d Cir. 2004) (first citing Taylor v. Rodriguez, 238 F.3d 188, 194 (2d Cir.2001) and then

Zavaro, 970 F.2d at 1152) (emphasis added). Moreover, Luna “clearly and unambiguously held

that an accuser’s statement, uncorroborated and without any evaluation of her credibility, is not

‘some evidence’ sufficient to enable a guilty finding based upon it to pass constitutional muster.”

Molano v. Bezio, 42 F. Supp. 3d 465, 470 (W.D.N.Y. 2012). “Nor does the Inmate Misbehavior

Report, in the absence of any other supporting testimony and after its author failed to corroborate

its allegations, suffice as ‘reliable’ evidence of plaintiff’s guilt.” Whitley v. Miller, 57 F. Supp. 3d

152, 160 (N.D.N.Y. 2014).

       Conclusory and unsupported assertions by prison personnel or complaining witnesses have

repeatedly been found wanting under this Circuit’s “some reliable evidence” standard. See, e.g.,

Elder v. McCarthy, 967 F.3d 113, 130 (2d Cir. 2020) (reliance on an assumption about the facts

underlying the incident does not meet “some evidence” standard) (emphasis added); Luna, 356

F.3d at 489 (failure to verify the veracity of a victim’s allegation fails “some evidence” standard);

Zavaro, 970 F.2d at 1152–53 (broad accusatory statements, without more, does not constitute

reliable evidence); Taylor, 238 F.2d at 194 (evidence insufficient absent corroborating facts or an

inquiry into the veracity of a complaining witness). In Elder, for example, the Second Circuit

reversed the dismissal of a due process claim arising from the conclusory determination that the




3
  Thompson simply answered in the affirmative when questioned. She provided no substantive
testimony, written or otherwise, upon which the guilty finding could reliably rest. FAC¶33.


                                                  11
     Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 16 of 19




incarcerated plaintiff forged institutional paperwork because the guilty finding lacked “some

reliable evidence.” 967 F.3d at 123. The hearing officer there relied upon a written report, officer

testimony, the allegedly forged paperwork, and his own conclusory, non-expert determination that

the signature on the paperwork in question appeared similar to the plaintiffs, all of which the

Circuit found insufficient evidence of guilt. Id. at 129. In Plaintiff’s case, Drake relied upon a

conclusory written report of Sgt. Meddaugh and Thompson’s personal opinion that “erratic

behavior” necessarily implies intoxication—a fact that was contested by another medical

professional on the scene, and was never corroborated with any confirmatory drug testing. See

FAC¶¶19–39. Under Elder, this “evidence” is insufficient as a matter of law to find Plaintiff guilty

of the institutional charge of intoxication.

       B. Plaintiff’s Substantive Due Process Claim Is Well-Pled

       Substantive due process “‘protects individuals against government action that is arbitrary,

conscience-shocking, or oppressive in a constitutional sense.’” Tavares v. Amato, 954 F. Supp. 2d

79, 98 (N.D.N.Y. 2013) (quoting Lowrance v. Achtyl, 20 F.3d 529, 537 (2d Cir. 1994)). “Moreover,

government action might be so arbitrary that it violates substantive due process regardless of the

fairness of the procedures used.” Lowrance, 20 F.3d at 537 (quotations omitted); see also Foucha

v. Louisiana, 504 U.S. 71, 80 (1992) (“Freedom from bodily restraint has always been at the core

of the liberty protected by the Due Process Clause from arbitrary governmental action.”).

       The gravamen of Plaintiff’s complaint is that his liberty was taken from him in a completely

arbitrary manner lacking any meaningful procedural protections. “However minimal may be the

process due to prisoners before segregation, that process is insufficient when it has been

contaminated by the introduction through state action of false inculpatory evidence.” Morrison v.

Lefevre, 592 F. Supp. 1052, 1073 (S.D.N.Y. 1984) (holding that the “introduction of false evidence

in itself violates the due process clause.”) It is hard to imagine a more conscious-shocking and


                                                12
      Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 17 of 19




arbitrary action than inflicting unjustified punishment on an innocent person by knowingly

introducing uncorroborated and unreliable evidence of guilt and preventing the introduction of

potentially exculpatory evidence. FAC¶¶25–39. Worse still, the Defendant acted with the

knowledge the false guilty charge would cause Plaintiff to lose his scheduled release date. Id.

Plaintiff has therefore pled a viable substantive due process claim.

IV.     PLAINTIFF HAS STATED A VIABLE EIGHTH AMENDMENT CLAIM

        Prison disciplinary sanctions violate the Eighth Amendment if they are “totally without

penological justification, grossly disproportionate, or involve the unnecessary and wanton

infliction of pain.” Smith v. Coughlin, 748 F.2d 783, 787 (2d Cir. 1984) (quotations omitted). Such

conditions may not be grossly disproportionate to the severity of the crime warranting

imprisonment. Rhodes v. Chapman, 452 U.S. 337, 347 (1981).

        Plaintiff has alleged sufficient facts that give rise to the inference that he was actually

innocent of the intoxication allegation, and that Defendants’ indifferent actions created

inculpatory “evidence” that simply did not exist. Under such circumstances, any punishment—let

alone heavily restricted and segregated confinement, a loss of all privileges, and a delay in release

from prison altogether—constitutes “grossly disproportionate” sanctions that are “without

penological justification.” Id.; see also Drayton 584 F.2d 1208; Elder, 967 F.3d 113. If Plaintiff

had not been found guilty by Officer Drake, his remedy may have been restricted to the protections

of the Fourteenth Amendment. C.f. Morrison, 592 F.Supp at 1979 (“Because the sanction was

imposed on [plaintiff] without any formal adjudication of her guilt, indeed, despite the fact that

she was innocent of the charge against her, her remedies lie in the Fourteenth Amendment’s

guarantee of due process.”) (emphasis added). But the imposition of punishment following a guilty

finding that lacked all due process protections is nonetheless an exercise of the State’s “power to

punish,” necessarily implicating the protections of the Eighth Amendment. Id.


                                                 13
      Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 18 of 19




        Lastly, contrary to Defendants’ assertions otherwise, the Eighth Amendment has no

“atypical hardship” requirement, see MTD at ECF 13, and Gonzalez v. Hasty does not so hold. 802

F.3d 212 (2d Cir. 2015). The plaintiff in Gonzalez specifically and narrowly challenged “the length

and conditions of his confinement in the SHU,” not the unconstitutionality of imposing sanctions

absent evidence that the plaintiff committed any violation whatsoever. Id. at 224. Moreover,

Defendants assertions that Plaintiff has not plead a culpable state of mind is without merit. MTD

at ECF 13; see also FAC¶¶43, 58, 62–67. Plaintiff has properly alleged that his disciplinary

confinement and delayed release imposed cruel and unusual punishment upon him; thus, he has

plausibly stated an Eighth Amendment claim and should be permitted to further develop this theory

of liability through the discovery process.

                                         CONCLUSION

        WHEREFORE, Plaintiff respectfully requests that Defendants’ Motion to Dismiss

Plaintiff’s First Amended Complaint be denied in its entirety.

Dated: New York, New York
       July 7, 2022


                                                  By:       /s/

                                                  Stephanie Panousieris
                                                  Rob Rickner

                                                  14 Wall Street Suite 1603
                                                  New York, New York 10005
                                                  Phone: (212) 300-6506
                                                  Fax: (888) 390-5401
                                                  Attorneys for Plaintiff


TO:

AAG Matthew J. Gallagher
Attorney General of the State of New York


                                                14
    Case 9:21-cv-01223-DNH-TWD Document 19 Filed 07/07/22 Page 19 of 19




The Capitol
Albany, New York 12224
Attorneys for Defendants




                                    15
